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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------x
MELISSA KAYE,

                                                     Plaintiff,

                          -against-                                         DEFENDANTS’ LOCAL
                                                                            RULE 56.1
NEW YORK CITY HEALTH AND HOSPITALS                                          STATEMENT OF
CORPORATION; ELIZABETH FORD; PATRICIA                                       UNDISPUTED
YANG; ABHISHEK JAIN; and JONATHAN                                           MATERIAL FACTS
WANGEL (said names being fictitious, the persons
intended being those who aided and abetted the                             18-cv-12137 (JPC)(JLC)
unlawful conduct of the names Defendants),

                                                  Defendants.
-----------------------------------------------------------------------x

         Pursuant to Local Rule 56.1 of the Civil Rules of this Court, Defendants New York City

Health and Hospitals Corporation (“H+H”), Elizabeth Ford, Patricia Yang, Abhishek Jain, and

Jonathan Wangel (collectively “defendants”) by and through their attorney submit their

statement of material facts as to which there is no genuine issue to be tried:

         1.      Plaintiff, former Director of the Bronx Forensic Psychiatry Court Clinic at

Correctional Health Services (“CHS”), brings this action alleging discrimination (gender and

caregiver) and retaliation under 42 U.S.C. § 1983 for violations of the 1st and 14th Amendments

of the United States Constitution; the Equal Pay Act; Family Medical Leave Act (“FMLA”);

Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e et seq. (“Title VII”);

the New York Human Rights Law as contained in New York Executive Law § 296, et seq.

(“NYHRL”); the New York City Human Rights Law as contained in the Administrative Code of

the City of New York, § 8-107, et seq. (“NYCHRL”); and New York Labor Law § 740. See

Amended Complaint, filed May 3, 2019 (hereinafter, “Compl.”), Exhibit “A.”1

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  References to all exhibits are to those annexed to the Declaration of Donna A. Canfield, dated March 4, 2022,
(“Canfield Decl.”) submitted herewith in support of defendants’ motion for summary judgment.
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       2.      Plaintiff alleges that soon after the management of the forensic clinics transitioned

in late 2017/early 2018, from Corizon to CHS, she experienced discrimination and retaliation.

Specifically, Plaintiff alleges that: (1) she was subjected to pay disparities on account of her

gender; (2) she was discriminated against on account of her caregiver status; (3) Defendants

interfered with her FMLA rights when they granted her FMLA leave on October 30, 2018, and

then revoked it on November 23, 2018, and retaliated against her for attempting to exercise her

FMLA rights; (4) Defendants retaliated against her for complaining about the alleged gender-

based pay disparity with her male counterparts; (5) Defendants violated her First Amendment

right of free speech and rights under New York “whistleblower” law by retaliating against her

because she raised concerns about the Criminal Procedure Law § 730 evaluation process, staff

conflict of interest, HIPAA violations, and the destruction of evaluation notes; and (6) the

intolerable working conditions resulted in her constructive discharge. See Ex. A at ¶¶ 1-6.

I.     Background

       3.      In or about August 1999, Plaintiff was hired as an Attending Physician at

Bellevue Hospital, working as a forensic evaluator in the Bronx Criminal Court Clinic. See

Deposition of Melissa Kaye, dated November 15, 2021, Exhibit “B” at 202:2-203:5.

       4.      As a forensic evaluator, plaintiff was responsible for conducting court-ordered

forensic examinations consistent with Criminal Procedure Law 730 (“CPL 730”) and Criminal

Procedure Law 390 (“CPL 390”). CPL 730 examinations are performed to determine whether a

criminal defendant is competent to stand trial. CPL 390 examinations are pre-pleading/pre-

sentencing examinations. Id. at 203:6-15.

       5.      In 2004, Plaintiff became the Medical Director of the Bronx Criminal Court

clinic. Id. at 204:7-12. Other than additional administrative work, Plaintiff’s forensic evaluation



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job duties remained the same – performing court-ordered CPL 390 and CPL 730 examinations.

Id. at 204:13-17.

       6.      Between 1999 and 2017, Bellevue Hospital and Kings had oversight and

management of the Bronx and Manhattan criminal court clinics; Kings County Hospital had

oversight and management over both the Brooklyn and Queens criminal court clinics. See Kaye,

Ex. B, at 50:4-14; see also Deposition of Abhishek Jain, M.D. dated October 4, 2021, annexed as

Exhibit “C” at 60:20-61:1.

       7.      At all times relevant, Dr. Marianne Badaracco (“Dr. Badaracco”) was the Chief of

Psychiatry at Bellevue Hospital. See Jain, Ex. C at 60:20-22; See also Deposition of Dr.

Elizabeth Ford, dated September 27, 2021, annexed as Exhibit “D,” at 25:24-26:3.

       8.      From May 2009 to 2014, Dr. Elizabeth Ford (“Dr. Ford”) was the Director of

Forensic Psychiatry at Bellevue Hospital, where she supervised the Manhattan and Bronx

criminal court clinics. See Ford, Ex. D at 28:16-19, 51:22-23. During this period of time,

Plaintiff reported to Dr. Ford. Id. at 26:9-14; see also Kaye, Ex. B, at 45:18-20.

       9.      From 2014 until approximately July 1, 2018, Dr. Jeremy Colley (“Dr. Colley”)

was the Director of Forensic Psychiatry at Bellevue Hospital, where he supervised the Manhattan

and Bronx criminal court clinics. Kaye, Ex. B at 59:3-7, 162:20-163:4. During this period of

time, Plaintiff reported to Dr. Colley. Id. at 42:2-4, 59:3-7; Ford, Ex. D, at 88:17-89:8

       10.     From approximately July 2001 to 2011, Dr. Stephen Ciric (“Dr. Ciric”), was

employed by Bellevue Hospital as a Physician Specialist III in the Division of Forensic

Psychiatry. His responsibilities included performing admission assessments and comprehensive

treatment plans; coordinating the medical care needs of patients and drafting psychiatric

summaries/discharge documentation for patients referred by the New York City Department of



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Correction and the New York City Police Department; and performing court-ordered evaluations

for New York County Supreme and Criminal Courts. See Curriculum Vitae Stephen J. Ciric,

M.D., annexed as Exhibit “E.”

       11.     In or about 2011, Dr. Ciric accepted the position of Medical Director of the

Manhattan Criminal Court clinic, and was promoted to Physician Specialist IV to compensate

him for the additional responsibilities required of the position, the many cases seen at the clinic,

the high turnover in staffing, and the loss of a full-time Psychologist, part-time Assistant Medical

Director, and part-time Medical Director. See “Human Resources Personnel Requisition Form

Promotion,” annexed as Exhibit “F.”

       12.     The Medical Director of the Manhattan Criminal Court clinic line was a unionized

line at the time Dr. Ciric accepted the position in 2011. See Kaye, Ex. B, at 222:15-24. Dr.

Ciric’s rate of pay thus was determined by the collectively bargained rate. See Clinicians Unit

Collective Bargaining Agreement between the City of New York, the Health and Hospitals

Corporation, and the Doctors Council, annexed as Exhibit “G.”

       13.     The Medical Director of the Bronx Criminal Court clinic was a unionized line at

the time Plaintiff accepted the position in 2004. Id. Consequently, Plaintiff’s rate of pay was

determined by the collectively bargained rate. Id.

       14.     The minimum and maximum pay rates for the Physician Specialist title is higher

than the Attending Physician title. Id.

       15.     The Manhattan Criminal Court clinic is consistently the busiest of the four

criminal court clinics, seeing approximately 1,200 to 1,400 criminal defendants annually. The

Bronx Criminal Court clinic, by comparison, sees the least number of criminal defendants, with

an average of approximately 300 criminal defendants annually. See Kaye, Ex. B, at 209:9-18;



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Ford, Ex. D, at 171:20-172:14; Deposition of Barry Winkler, dated October 6, 2021, annexed as

Exhibit “H” at 284:7-285:5; see also Forensic Psychiatry Evaluation Court Clinics (“FPECC”)

Clinic Case Listing Output 10/13/2021, annexed as Exhibit “I;” See also Email thread, “Big

picture question,” dated October 16, 2018, annexed as Exhibit “J.”

       16.     Staffing at the Manhattan Criminal Court clinic exceeds that of the Bronx

Criminal Court clinic, with one full-time psychiatrist, two part-time psychiatrists, two part-time

psychologists, one full-time social worker, and a forensic fellow. The Bronx Criminal Court

clinic, by comparison, staffs only one full-time psychiatrist and one full-time psychologist. See

Email, “RE: Updated FPECC Org Chart,” dated February 7, 2018, annexed as Exhibit “K.”

       17.     In or about 2013/2014, Plaintiff learned that Dr. Ciric was compensated at a

higher rate of pay. See Kaye, Ex. B, at 45:22-46:8.

       18.     In early 2014, Plaintiff informed Dr. Ford that she believed Dr. Ciric, as a

Physician Specialist, was being compensated at a higher pay rate, and requested that her line be

changed from Attending Physician III to Physician Specialist because she “was more qualified

and [] had more seniority.” Kaye, Ex. B at 48:7. In response, Dr. Ford stated that she would look

into it and speak with Dr. Badaracco. Id. at 48:15-18; Ford, Ex. D at 118:12-18.

       19.     Dr. Ford spoke to her supervisor, Dr. Badaracco, about plaintiff’s salary concerns,

since Dr. Ford was not involved in, nor had any responsibilities concerning compensation issues.

See Ford, Ex. D at 114:23-116:1

       20.     In or about late 2014/early 2015, Plaintiff spoke to Dr. Colley about what she

believed to be a pay disparity between herself and Dr. Ciric, informing Dr. Colley that this issue

had been raised with Dr. Ford without a resolution. Kaye, Ex. B at 58:20-59:19. Plaintiff also




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informed Dr. Colley that she believed there was another part-time psychiatrist in a Physician

Specialist line who was compensated at a higher rate than she. Id. at 60:3-13.

       21.     Dr. Colley told Plaintiff that he would speak with Dr. Badaracco about Plaintiff’s

complaint regarding pay parity. Id. at 60:19-22. Shortly thereafter, Dr. Badaracco contacted

Plaintiff to advise that she would look into Plaintiff’s complaint. Id. at 61:2-13, 61:23-25.

       22.     Thereafter, Dr. Badarraco and Dr. Colley told Plaintiff that while her line could

not be changed from Attending Physician to Physician Specialist, her pay would be increased to

the top pay range in the collective bargaining agreement for an Attending Physician III. Id. at

63:8-64:16.

       23.     On November 21, 2017, Dr. Ciric resigned as Director of the Manhattan Court

Clinic. See “New York City Health and Hospitals Corporation Resignation Form,” annexed as

Exhibit “L.”

II.    Transition to Correctional Health Services

       24.     In or about late 2017/early 2018, oversight and management of the Bronx,

Manhattan, Brooklyn, and Queens court clinics transferred to Correctional Health Services. See

Deposition of Patricia Yang, dated February 28, 2018, annexed as Exhibit “M” at 20:8-21:24,

44:2-25; see also Email Correspondence, dated December 8, 2017, annexed as Exhibit “N.”

       25.     CHS is a division of New York City Health + Hospitals, created as part of former-

Mayor Bill de Blasio’s criminal justice reforms, to improve care, provide dignity, and treat

humanely those detained and placed in city custody. See Yang, Ex. M at 20:8-21:24, 31:7-13,

57:2-13; see also https://www.nychealthandhospitals.org/correctionalhealthservices (last visited

January 18, 2022).




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       26.     The reorganization and consolidation of the four court clinics, collectively called

the Forensic Psychiatric Evaluation Court Clinics or “FPECC,” was consistent with the City’s

efforts to minimize the health impact of incarceration and reduce the length of stay in jail, by

unifying the forensic service, standardizing the clinics, and providing the necessary resources in

order to expedite the court processing of criminal defendants so they were in custody the least

amount of time necessary. See Yang, Ex. M at 44:2-25, 45:17-46:15, 55:4-8, 57:23-59:7, 155:1-

9; Jain, Ex. C at 60:5-61:15.

       27.     During all relevant times, Dr. Patricia Yang held the position of Senior Vice

President for Correctional Health Services. See Yang, Ex. M at 10:3-6.

       28.     In 2015, Dr. Ford became the Chief of Psychiatry for Correctional Health

Services. See Ford, Ex. D at 39:7-17; Yang, Ex. M at 49:25-50:6. In this role, Dr. Ford assisted

in the transition of the court clinics into the CHS, and supervised the Director of the Forensic

Psychiatric Evaluation Court Clinics or “FPECC.”         Dr. Ford remained in this role until

December 2019. See Ford, Ex. D at 59:25-160:4.

       29.     During all relevant times, Dr. Ross MacDonald held the position of Senior

Assistant Vice President and Chief Medical Officer for Correctional Health Services. See Yang,

Ex. M at 47:16-19; Deposition of Ross MacDonald, dated November 12, 2021, annexed as Ex.

“O” at 13:25-14:9.

       30.     During all relevant times, Sara Gillen held the position of Chief Operating Officer

for Correctional Health Services. See Yang, Ex. M at 47:25-48:6;

       31.     From approximately 2015 to June or July 2019, Jonathan Wangel held the

position of Senior Director of Labor Relations. See Deposition of Jonathan Wangel, dated

September 30, 2021 annexed as Exhibit “P” at 14:12-14, 16:16-17:4, 18:5-25.



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       32.    During all relevant times, Jessica Laboy held the position of Chief Administrative

Officer. See Yang, Ex. M at 36:3-13.

       A. Citywide 730 Workgroup

       33.    On January 18, 2018, Dr. Ford sent an email to Dr. Colley, requesting that he

“suggest one evaluator from the Bronx clinic and 1-2 psychiatrists from the Manhattan clinic

who would be willing/able to participate in the workgroup to think about a standardized clinical

approach to the exams.” Specifically, the workgroup sought to “create preliminary templates for

730 reports and guidelines about the interviewing process, medical records requests, and

psychological testing.” See Email from Elizabeth Ford to Jeremy Colley, dated January 18,

2021, Email, dated March 27, 2018, from CHS Communications, both annexed as Exhibit “Q.”

       34.    That same day, Dr. Colley forwarded Dr. Ford’s January 18, 2018 email to the

clinic evaluators, stating “[s]ee below – let me know if you are interested.” On January 22,

2018, plaintiff responded by saying, “[l]et me know dates, and I’ll try to work it in.” See Email

thread, dated January 18, 2021 and January 22, 2018, at Exhibit “R.”

       35.    On or about February 12, 2018, Plaintiff learned that Dr. Barry Winkler was

chosen to participate in the workgroup, named “Citywide 730 workgroup.” See Email, from

plaintiff to Jeffery Bloom, dated February 12, 2018, annexed as Exhibit “S;” Winkler, Ex. H at

41:7-17, 55:19-56:1

       36.    Plaintiff referred to Dr. Winkler’s participation in the           “Citywide 730

workgroup,” as a “730 schedule disruption per CHS” to Legal Aid attorney, Jeffery Bloom, and

lamented that “[a]lthough I am a very senior, highly qualified examiner, I was not asked to

participate in this process to ‘standardize and streamline’ 730s,” and complained that she “was




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not consulted about the date of the meeting so [she] did not have the opportunity to provide input

on which day would be least disruptive for [Dr. Winkler] to be pulled.” Id.

        B. Medical Records

        37.    In or around February 2018, Patrick Alberts, legal counsel for CHS, Dr. Yang and

Dr. Ford learned from the Mayor’s Office for Criminal Justice (“MOCJ”) that plaintiff had

refused to perform a court-ordered 730 examination until she received unredacted medical

records. As a result, the judge overseeing the matter was threatening to hold Bellevue Hospital

and the Bronx Court Clinic in contempt. Dr. Ford commented to the group that the “[s]tandard

practice in forensic evals is to use whatever records you have to form an opinion and not any

limitations in the formulation,” and that “[plaintiff] has been a problem for a long time and we

will manage her out.” Dr. Yang noted that “[s]adly dragging in MOCJ to learn that word had it

that the judge might hold the city in contempt and it turns out it is [plaintiff’s] own cyclone that

has sucked in detritus.” See Email, “Fwd: Judge Torres wants to hold us in contempt?” dated

February 1, 2018, annexed as Exhibit “T;” Ford, 63:21-64:19.

        38.    CHS legal counsel had determined that 730 orders do not entitle the release of

substance abuse information, unless that information was specifically requested in the order or

by subpoena. Id.; see also Winkler, Ex. H at 110:3-15, 194:22-195:3; Letter, dated February 20,

2018 to Honorable Judith Lieb, Bronx County Supreme Court, Criminal Division, from

Salvatore Russo, Senior Vice President and General Counsel, Legal Affairs, annexed as Exhibit

“U.”

        39.    CHS legal counsel further determined it would be inappropriate to “approach the

patient for us and obtain an authorization, and it’s doubtful [the] attorney will either.” See

Exhibit “T.”



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       40.     Plaintiff, along with Drs. Winkler, Ciric, and Colley, all complained about using

redacted medical records when performing 730 examinations. See Kaye, Ex. B at 100:2-19,

Winkler, Ex. H at 24:9-25:22, 109:17-23, 110:16-111:1; 222:3-10.

       41.     Dr. Winkler was not treated any differently after complaining about having to use

redacted medical records when performing 730 examinations. See Winkler, Ex. H at 309:10-13

       42.     On March 12, 2018, Plaintiff expressed her concerns regarding the use of redacted

medical records to Dr. Colley, claiming that “relying on redacted records falls below the standard

of practice for forensic (and clinical) psychiatry,” because “we need to use unredacted records in

order to render an opinion within a reasonable degree of medical certainty, and to avoid

controversions and maintain our professional credibility.” Plaintiff was also concerned about

facing a lawsuit, writing, “I also have concerns about the increased medicolegal liability of using

redacted records. I am aware of MD’s successfully being sued for making a diagnosis of

malingering, as well as for incomplete review of medical records.” See Email, dated March 12,

2018, from plaintiff to Dr. Jeremy Colley, annexed as Exhibit “V.”

       43.     On March 13, 2018, Plaintiff again expressed her concerns to Dr. Colley

regarding the use of redacted medical records and the risk of a medical malpractice allegation,

stating, “I am not willing to make myself vulnerable to a medical malpractice allegation simply

because H&H legal department is pushing us to practice medicine below the standards set forth

by our profession,” and that “[a] successful civil medical malpractice lawsuit for failure to

review the complete record or an unsubstantiated diagnosis of malingering is a slam dunk.” See

Email, dated March 13, 2018 from plaintiff to Dr. Jeremy Colley, annexed as Exhibit “W.”

       44.     On March 23, 2018, Deirdre Newton, Senior Counsel at H+H, emailed plaintiff to

remind her that she should not copy third parties on email correspondence with H+H’s legal



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counsel, as “communications with the system’s attorneys are privileged.” See Email, dated

March 23, 2018 from Deirdre Newton to plaintiff, annexed as Exhibit “X.” In response, plaintiff

forwarded the email from Ms. Newton to two third parties, Judge Torres and a representative

from the Bronx District Attorneys’ Office. Id.; see also Email, dated March 23, 2018, annexed

as Exhibit “Y.”

III.    Terms and Conditions of Transition

        45.   In or about December 2017, plaintiff learned from Dr. Colley that CHS was

working to “consolidate the court clinics across the city under their control, removing them from

Bellevue and Kings County.” See Email correspondence dated December 8, 2017, between

Jeremy Colley and plaintiff, annexed as Exhibit “Z.” Plaintiff expressed concern as to whether

her pay line would be converted to CHS lines, since she was approaching her 20-year longevity

pay increase with Bellevue, and had a retroactive pay increase coming in the next year, and

wanted to know “how aggressively to look for another job.” Id.

        46.   On January 5, 2018, Dr. Ford reached out to plaintiff and invited her to have a

discussion about the upcoming court clinic transition to CHS. That same day, plaintiff spoke to

Dr. Ford about her concerns regarding the transition to CHS, specifically, her concerns regarding

compensation, remaining in Doctors Council, and her retention bonus.                 See email

correspondence between Elizabeth Ford and plaintiff, dated January 5, 2018; email

correspondence between Elizabeth Ford and Patricia Yang, dated January 5, 2018, both annexed

as Exhibit “AA;” see also Ford, Ex. D at 116:13-117:8.

        47.   On January 29, 2018, Dr. Yang agreed to delay the transfer of the Bellevue clinics

to CHS until July 2018, to accommodate plaintiff, who would then be eligible to receive a

$20,000 retention bonus pursuant to the Doctors Council collective bargaining agreement.



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Exhibit AA; Yang, Ex. M at 80:8-20, 106:15-107:14, 153:5-8, 169:18-170:4, 226:5-25, 228:3-8;

see also Email correspondence between Patricia Yang and William Hicks, dated January 29,

2018, and January 31, 2018, annexed as Exhibit “BB;” Email, dated March 27, 2018, from CHS

Communications, annexed as Exhibit “CC.”

       48.     The Kings County clinics transitioned to CHS in April 2018. Exhibit “CC.”

       49.     On February 23, 2018, plaintiff sent an email to Dr. Badaracco, “following up

regarding my interest in a job at Bellevue on an HHC line,” prior to “the CHS take over of the

Bronx Court Clinic.” See Email, dated February 23, 2018, from plaintiff to Marianne Badaracco,

annexed as Exhibit “DD.”

       50.     Plaintiff was informed by Dr. Badaracco and Dr. Colley when discussing the

possibility of her staying at Bellevue in a Doctors Council HHC line, that HHC “lines had been

phased out over the last 20 years and converted to private lines, like NYU lines at Bellevue

instead of city lines.” Plaintiff did not want a NYU line, even if offered to her. See Kaye, Ex. B

at 184:16-185:9, 185:16-187:2.

       51.     Both before and after the transition, plaintiff made multiple attempts to stay at

Bellevue or find other employment. Id. See also Ex. DD; Email thread, “Re: Psychiatry jobs

Bellevue,” dated May 25, 2018; Email, “seeking employment at Bellevue on HHC line,” dated

May 30, 2018; Email, “Job on 19,” dated June 1, 2018; Email thread, entitled “19 job questions,”

dated June 5, 2018; Email thread, “Re: Updates for Dr. Kaye (Manhattan), dated September 11,

2018; Email thread, “RE: Retention Bonus,” dated October 6, 2018; Email thread, “RE: Looking

for HHC line,” dated October 23-24, 2018; Email, “Employment Sought,” dated December 11,

2018, all annexed as Exhibit “EE.”




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       52.    After learning that plaintiff wished to return to Bellevue, Dr. Yang attempted to

secure a position for plaintiff there, but was told “they didn’t want her back,” and no position

was available for her at Bellevue. See Yang Ex. M at 88:3-89:12; 89:20-90:4. Email, “MK,”

dated January 22, 2019, annexed as Exhibit “FF.”

       53.    In or about early 2018, Doctors Council, plaintiff’s collective bargaining union,

met with CHS leadership concerning the terms and conditions of the transition. It was agreed

that all employees who were part of Doctors Council would roll over to CHS in their same union

positions, with the same terms and conditions of employment as outlined in the collective

bargaining agreement. See Kaye, Ex. B at 92:14-93:13.

       54.    In or about March 2018, Dr. Abhishek Jain was hired as the Director of Forensic

Psychiatry Evaluation Court Clinics, to oversee the four court clinics that merged under CHS.

Dr. Jain reported directly to Dr. Ford. See Ford, Ex. D at 40:24-41:13, 84:6-14, 89:16-17, Jain,

Ex. C at 30:5-11; see also Email, dated March 27, 2018, from Dr. Elizabeth Ford to Dr.

Elizabeth Owen, plaintiff, Dr. Daniel Mundy, Dr. Barry Winkler, and Dr. Abhishek Jain,

annexed as Exhibit “GG.”

       55.    Dr. Mundy accepted the position of the Director of the Manhattan Court Clinic,

and Dr. Winkler accepted the position of Director of the Brooklyn Court Clinic. Drs. Kaye and

Owen accepted the positions of Directors of the Bronx and Queens Court Clinics, respectively.

See Exhibit “GG;” Yang, Ex. M at 73:3-14, 74:2-11, 75:24-76:4.

       56.    Andrea Swenson was appointed to the position of Senior Administrator for the

Court Clinics. In this role, Ms. Swenson would be responsible for managing the administrative

staff and operations of the Court Clinics. Yang, Ex. M at 73:3-14, 74:2-11, 75:24-76:4. Dr.

Alex Garcia-Mansilla, was announced as the Director of Psychological Assessment for CHS. In



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this role, Dr. Garcia-Mansilla would be responsible for oversight of psychological testing

procedures and “issues related to all four clinics.” Id.; see also Ex. Q.

       57.     Prior to becoming the Director of the Manhattan Court Clinic, Dr. Mundy was a

part-time psychiatrist evaluator holding the non-managerial title of Attending Physician III. As

an Attending Physician III, Dr. Mundy was a unionized employee. See Kaye, Ex. B at 90:13-23.

See also Email, entitled, “RE” Bellevue 730 personnel,” dated April 25, 2018, from Aaron

Anderson to Patricia Yang and Sara Gillen, and email, entitled “RE: Pay Equity for Court Clinic

Medical Directors,” dated May 3, 2018, from Sara Gillen to Dr. Yang Jonathan Wangel, Ross

MacDonald, Elizabeth Ford, and Jessica Laboy, annexed as Exhibit “HH;” Yang, Ex. M at

122:5-7; MacDonald, Ex. O at 158:18-159:8.

       58.     Upon accepting the Director of the Manhattan Court Clinic position, Mr. Mundy

chose to become a managerial, or non-unionized Group 11 employee. With this, Dr. Mundy lost

eligibility for his retention bonus, nor was he subject to the terms and conditions and the

collectively bargained protections, of a unionized employee. See Yang, Ex. M at 83:19-84:7;

226:18-227:23, 228:9-15; Kaye, Ex. B at 91:2-92:8.

       59.     Prior to becoming the Director of the Brooklyn Court Clinic, Dr. Winkler was a

full-time, psychologist evaluator at Bellevue, paid by an affiliate, New York University

(“NYU”). Upon becoming the Director of the Brooklyn Court Clinic at CHS, Dr. Winkler

became an employee of CHS, paid by a different affiliate, Physician’s Affiliate Group of New

York or PAGNY. See Winkler, Ex. H at 62:7-64:15. See also Email, entitled, “RE: Bellevue 730

personnel,” dated April 25, 2018, from Aaron Anderson to Patricia Yang and Sara Gillen, and

email, entitled “RE: Pay Equity for Court Clinic Medical Directors,” dated May 3, 2018, from




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Sara Gillen to Dr. Yang, Jonathan Wangel, Ross MacDonald, Elizabeth Ford, and Jessica Laboy,

annexed as Exhibit “II;” Yang, Ex. M at 122:5-7; MacDonald, Ex. O at 158:18-159:8.

       60.    Prior to becoming the Director of the Queens Court Clinic, Dr. Elizabeth Owen, a

psychologist, was the Director of the Brooklyn Court Clinic. Upon becoming the Director of the

Queens Court Clinic at CHS, Dr. Owen became a managerial, or non-unionized Group 11

employee at CHS. See Email, entitled “AFR and Backfill for Liz Owen,” dated February 6,

2018, from Elizabeth Ford to CHS Personnel Actions and Ross MacDonald, and email “RE”

Bellevue 730 personnel,” dated April 25, 2018, from Aaron Anderson to Patricia Yang and Sara

Gillen, annexed as Exhibit “JJ;” see also Yang, Ex. M at 247:4-11.

       61.    On or about April 19, 2018, Dr. Ford met with Dr. Jain and Drs. Winkler, Owen,

Mundy, and plaintiff. At this meeting, plaintiff expressed concerns regarding her union status,

her salary, and her retention bonus. See “Meeting Notification,” for April 19, 2018, and email,

dated April 19, 2018, Exhibit “KK.”

       62.    On April 24, 2018, plaintiff emailed Dr. Ford requesting permission to speak with

Dr. Yang about “pay parity.” See Email, dated April 24, 2018, from plaintiff to Dr. Ford,

annexed as Exhibit “LL.”

       63.    The next day, Dr. Ford responded by telling plaintiff

                      “Of course.
                      Likely that much more flexibility for your salary if
                      you are willing to move into a managerial role, but I
                      know that also means losing union/other benefits.
                      Regardless, please let me know how it goes. I want
                      to be as supportive and fair as possible.”

Id.

       64.    On or before April 30, 2018, plaintiff met with Jessica Laboy and Jonathan

Wangel about her July 1, 2018 line change from Bellevue to CHS. Plaintiff memorialized in an


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email her current benefits and job duties, and her “understand[ing] from our conversation that

everything will stay the same and nothing will change” when her line is transferred from

Bellevue to CHS. See Email, entitled “Melissa Kaye BHC to CHS line change,” dated April 30,

2018, annexed as Exhibit “MM.”

       65.      On May 3, 2018, Plaintiff wrote to Dr. Yang to complain about what she believed

to be a 30% pay discrepancy between herself and Dr. Ciric from the time that she worked at

Bellevue, and requested, again, that her line be changed from Attending Physician III to

Physician Specialist, “with retention of all my current benefits, union membership, pension etc.

with a consummate increase in compensation equal to or higher than my male colleagues.” See

Email, entitled Pay Equity for Court Clinic Medical Directors,” dated May 3, 2018, annexed as

Exhibit “NN.”

       66.      That same day, Dr. Yang reached out to her team at CHS, to determine the court

clinic directors’ salaries, and whether plaintiff was paid commensurate to the scope and

responsibility of the Bronx Court Clinic. See Email thread, entitled “FW: Pay Equity for Court

Clinic Medical Directors,” dated May 3, 2018, between Drs. Yang, MacDonald, Ford, Sara

Gillen, Jessica Laboy, and Jonathan Wangel, annexed as Exhibit “OO.” Dr. Yang responded to

her team that plaintiff will be “offer[ed] a position that suits the needs of FPECC and is fair and

equitable to the scope and responsibility. We can offer her the management position comparable

to Winkler and Mundy, to run Bx under us.” Id.

       67.      CHS determined that plaintiff earned the highest salary of all the unionized

doctors in Doctors Council. Id.

       68.      Including differentials, plaintiff’s salary was $203,912.00. Dr. Mundy’s salary,

after accepting a managerial line, was $205,000.00 – a difference of $1088.00. Id.



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       69.     As a managerial, or Group 11 employee, Dr. Mundy’s salary rate is “established

by surveys, conducted by Central Office and facility representatives, of comparable health care

titles in the consolidated Metro area,” as set forth in H+H’s Operating Procedure 20-41, “Health

and Hospitals Corporation Salary Policy. See https://www.nychealthandhospitals.org/wp-

content/uploads/2016/07/hhc-salary-policy.pdf.

       70.     Dr. Mundy oversaw the Manhattan Criminal Court clinic, by far the busiest of the

four criminal court clinics, seeing approximately 1,200 to 1,400 criminal defendants annually,

while plaintiff oversaw the Bronx Criminal Court clinic, which, by comparison, sees an average

of approximately 300 criminal defendants annually. Dr. Mundy also supervised three part-time

psychiatrists, a psychologist, a Forensic Fellow, and a social worker. Plaintiff, on the other hand,

only supervised one psychologist. See Kaye, Ex. “B” at 209:9-18; Ford, Ex. “D” at 171:20-

172:14; Winkler, Exhibit “H” at 284:7-285:5; see also Email, “FPECC Org Chart,” dated March

26, 2018, annexed as Exhibit “PP;” Exhibits I and J.

       71.     Later that evening, on May 3, 2018, Dr. Yang responded to plaintiff’s concerns

regarding perceived pay inequity while employed by Bellevue, and stated that she will “convey

these serious concerns and your request to the attention of Mr. William Hicks, CEO of

Bellevue.” See Email, entitled “RE: Pay Equity for Court Clinic Medical Directors,” dated May

3, 2018, annexed as Exhibit “QQ.”

       72.     Immediately thereafter, Dr. Yang forwarded plaintiff’s concerns that she had been

paid less than her male colleagues while at Bellevue to William Hicks, copying plaintiff. See

Email, entitled “Pay Equity Concern,” dated May 3, 2018, annexed as Exhibit “RR.”




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        73.    Plaintiff was offered a managerial position, but she declined, choosing to stay in

the union as a member of the Doctors Council. See Exhibit OO; Yang, Ex. M at 256:8-13;

MacDonald, Ex. O at 160:9-17; Wangel, Ex. P at 128:23-129:9.

        74.    Plaintiff believed that the offer to become managerial to afford more flexibility in

her pay was a ploy to fire her for her complaints regarding the redacted medical records, since

relinquishing her union status would obviate job protections offered by the collective bargaining

agreement. See Kaye, Ex. B at 93:18-95:15, 98:18-100:6.

        75.    Dr. Yang requested that all court clinic directors be managerial or Group 11

employees. See Yang, Ex. M at 123:2-6, 123:24-124:5. However, as an accommodation to

plaintiff, Dr. Yang allowed plaintiff to stay in her collective bargaining title. Id., 256:8-13.

        76.    On or about June 21, 2018, plaintiff informed Dr. Jain that she was planning to

file a complaint regarding what she believed to be pay disparity. See Email, “Jonathan,” dated

June 21, 2018 annexed as Exhibit “SS.”

        77.    On or about June 28, 2018, H+H legal department received an attorney letter on

behalf of plaintiff. The letter, from Bantle & Levy LLP, alleged that “substantial evidence

existed that [plaintiff] has been discriminated against based on her sex in the form of lack of pay

equity.” See Email, “Dr. Melissa Kaye,” dated July 6, 2018, annexed as Exhibit “TT.”

        A. Titles for Clinic Directors

        78.    On May 11, 2018, Dr. Jain informed Andrea Swenson, Senior Administrator,

Forensic Court Clinics, that the clinic directors at the Queens, Bronx, Manhattan, and Brooklyn

court clinics would have the title “Director,” and that Dr. Jain’s title would also be “Director” of

all four of the court clinics. See Email, “RE: Titles,” dated May 11, 2018, annexed as Exhibit

“UU.”



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       79.       On May 25, 2018, plaintiff emailed Andrea Swenson, in response to a business

card confirmation request, to ask why her title was changing to “Director” from “Medical

Director.” See Email, “Re: Business Cards,” dated May 25, 2018, annexed as Exhibit “VV.”

       80.       After discussing plaintiff’s concerns, it was decided that for the sake of simplicity

and to equalize the titles of the court clinic directors, they would all have the title “Director.”

See Email, “Re: Very basic question,” dated May 29, 2018, annexed as Exhibit “WW;” see also

Ex. VV.

       81.       Plaintiff believes that the change in title, though made for all, from “Medical

Director” to “Director” was a demotion and made in retaliation for complaining about pay parity.

See Kaye, Ex. B at 238:24-240:16.

       B. Plaintiff’s Complaints

       82.       In December 2015, plaintiff complained to Dr. Colley about Dr. Yang wanting a

criminal defendant to be found unfit “so he could be removed from Rikers Island and sent to Mid

Hudson,” and “pushing for him to be forced ordered into the court clinic.” Kaye, Ex. B at

174:24-176:17, Deposition of Melissa Kaye, dated January 25, 2022, annexed as Exhibit “XX”

at 10:21-16:2.

       83.       Plaintiff also complained that she believed that CHS was “politicizing exams” and

intruding on the 730 exam process. See Kaye, Ex. B at 166:21-25, 172:21-176:25.

       84.       In January 2018, plaintiff claims she complained of a proposed policy to force

“possibly incapacitated individuals into signing a HIPAA release without legal representation

was a violation of their constitutional rights.” Id., 261:22-262:2.

       85.       In January 2019, plaintiff complained about CHS’s psychological testing policy,

believing that “this proposed administrative policy [] places restrictions upon the MD clinic



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directors,” since “physicians are to have unfettered independence within their standard of

practice. Anything less necessarily raises questions about the legitimacy of the examination,

opens the door to controversion by defense attorneys and prosecutors, and undermines the

credibility of the examination results.” See Email, “Re: CHS draft policies circulated?” dated

January 11, 2019, annexed as Exhibit “YY.”

       86.     In March 2019, plaintiff claims she complained about “opining on fitness without

an exam,” to Drs. Jain and Ford, believing that “it completely violates the defendant’s

constitutional rights to a fair trial.” See Kaye, Ex. XX at 50:23-51:10.

       87.     Plaintiff also complained about CHS’s private practice policy, believing that it

“perpetuated a fraud on the Court,” because the policy allowed “the stakeholders involving in

hiring these doctors for private work are the same stakeholders for which they provide a city-

salaried service to,” and “developing overly friendly relationships with lawyers and being

influenced in how in the findings of their 730 exams in order to establish a business relationship

that would get them private referrals.” See Kaye, Ex. B at 216:16-19, 249:6-255:24.

       88.     Pursuant to H+H’s Operating Procedure 50-1, “Corporate Compliance and Ethics

Program,” plaintiff had an obligation, as an employee of H+H and CHS, to report “fraud,”

“waste,”     and      “abuse.”           See           https://www.nychealthandhospitals.org/wp-

content/uploads/2018/01/OP-50-1-Corporate-Compliance-Program.pdf.

IV.    Post-Transition to CHS

       A. Shift Change

       89.     On July 11, 2018, Dr. Jain received an email from timekeeping in which he was

asked to clarify why, if plaintiff was a 40-hour employee, her schedule in Kronos, the

timekeeping system, indicated a 35-hour work week. See Email, “Re: Kaye, M Schedule,” dated



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July 11, 2018, annexed as Exhibit “ZZ.” Dr. Jain responded, and looped in Jessica Laboy, who

in turned added Jonathan Wangel to assist with the question. Id.

         90.   Mr. Wangel emailed Dr. Colley to determine “the rationale for permitting

physicians to work 8 hours w/ only a 30 minute lunch (rather than 1 full hour which is standard).

Please let me know if you have a couple of minutes to discuss.” See Email, “Re: FPECC

Question,” dated July 11, 2018, annexed as Exhibit “AAA;” see also Wangel, Ex. P at 134:115-

135:9.

         91.   Mr. Wangel directed timekeeping to change plaintiff’s schedule in Kronos to

reflect a 9 to 6 work day, with a ½ hour lunch between 5:30 and 6:00 p.m. In response,

timekeeping clarified that plaintiff’s schedule would be changed in Kronos from 9 am to 5:30

with a ½ hour lunch, for a total of 8.5 hours per day with a ½ hour lunch. However, “[o]nce the

½ hour lunch change to an hour lunch her schedule will need to change form [sic] 9am-6pm.”

Ex. AAA.

         92.   The next day, July 12, 2018, Dr. Jain emailed plaintiff to let her know that the

Kronos scheduling issue had been resolved, and that “[h]opefully we’ll get Kronos set up soon,

and in the meantime I’ll continue putting in your hours.” See Email, “Fw: Following up,” dated

July 12, 2018, annexed as Exhibit “BBB.”

         93.   On July 13, 2018, Dr. Jain confirmed that Kronos reflected a 9-5:30pm schedule

for plaintiff and that plaintiff should get credit for a 40 hour work each week. See Email, “Fw:

Kaye, M Schedule,” dated July 13, 2018, annexed as Exhibit “CCC.”

         94.   Plaintiff took sick days on July 11 and July 12, 2018, and annual leave from July

17 – July 25, 2018. See Email, “Subject: Direct Deposit,” dated July 10, 2018, and Email, “Out

sick 7/12,” dated July 12, 2018, annexed as Exhibit “DDD.” On July 23, 2018, plaintiff texted



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Dr. Jain, stating “[m]y stepdad is in hospice my siblings and I need to deal with his end of life

issues. I plan to return to work on 8/6.” See Email, “Dr. Kaye time off,” dated July 23, 2018,

annexed as Exhibit “EEE.”

         95.   That same day, Human Resources was notified of plaintiff’s leave of absence as a

possible FMLA leave request. Id.

         96.   Mr. Wangel confirmed that all employees covered by the Doctors Council

agreement were to take the standard 1-hour lunch. See Email, “FW: 30 minute MD lunch,”

dated July 24, 2018, annexed as Exhibit “FFF.”

         97.   Plaintiff returned to work on August 6, 2018, but called out sick August 9-10,

2018. See Emails, “Touching Base,” dated August 6 2018, and “Out Sick today,” dated August

9, 2018, and “Out Sick today,” dated August 10, 2018, annexed as Exhibit “GGG.”

         98.   On August 13, 2018, upon her return to work, plaintiff complained to Ciara Smith

and Colleen Barrow of CHS Payroll that she believed she was getting docked pay because of a

“apparent pay discrepancy in Kronos for on [sic] all of my time processed since July 1.” Email,

“Pay error,” dated August 13, 2018, annexed as Exhibit “HHH.”

         99.   That same day, CHS Payroll notified Dr. Jain, Andrea Swenson, Jonathan

Wangle, Ciara Smith and Colleen Barrow that “as of 8/5/2018 the code meal for the following

employees will change from 30 minutes to an hour.” The employees listed—Oliver Harper,

Melissa Kaye, Kanishk Solanki, and Jonathan Weiss—were all members of the Doctors Council

collective bargaining unit. See Email, “Meal Code,” dated August 13, 2018, annexed as Exhibit

“III.”




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        100.    On August 15, 2018, Jonathan Wangel sent an email to Dr. Jain and Andrea

Swenson, confirming the new schedule adjustment for Drs. Kaye, Solanki, Weiss and Harper.

See Email, “Fwd: 1-Hour Lunch,” dated August 15, 2018, annexed as Exhibit “JJJ.”

        101.    That same day, Dr. Jain notified plaintiff that her “schedule is now adjusted in

Kronos as 8a-5p, with a 1-hour lunch.” Id. In response, plaintiff complained that “this change in

my work schedule and lengthening the duration of my shift conflicts with my family

responsibilities.” Id.

        B. Educational Leave

        102.    On July 28, 2018, documentation was submitted to the “Court Clinic time

keeper,” concerning plaintiff’s request for educational leave in order to take her Child and

Adolescent Boards on 9/24/18. See Email, “FW: Educational Leave 9/24/18,” dated August 28,

2018, annexed as Exhibit “KKK.”

        103.    On October 5, 2018, plaintiff reached out to Dr. Jain to inform him that her

requested “educational leave was overridden and charged to annual leave, and that I was docked

18 hours (2 full work days) for 9/24.” See Email thread, “Re: 9/24 Time sheet error,” dated

October 5, 2018, annexed as Exhibit “LLL.” Dr. Jain responded, “I am looking into this.” Id.

        104.    Dr. Jain made the request to Payroll, on behalf of plaintiff, that this leave “should

qualify as educational leave for Dr. Kaye. She is a physician and this is part of her professional

credentialing.” That same day, after numerous emails between Dr. Jain, plaintiff and CHS

Payroll, Ciara Smith, Director of CHS Payroll, notified plaintiff that the 5 hours and 15 minutes

duration of the exam was charged to educational leave, with the remaining hours for the day

charged to annual leave. See Email thread, “Re: Educational Leave 9/24/18,” dated October 5,

2018, annexed as Exhibit “MMM.”



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       105.       On October 9, 2018, plaintiff wrote to Ms. Smith, stating that she was improperly

docked for taking a board exam, and that rather than charging only 5 hours and 15 minutes, she

should be credited for a full day, or 8 hours. See Email thread, “Re: Educational Leave 9/24/18,”

dated October 9, 2018, annexed as Exhibit “NNN.”

       106.       The practice at CHS is to only approve the time for the exam, not travel or any

other time. Id.

       107.       On October 31, 2018, plaintiff reached out to Nate Santa Maria of Doctors

Council, stating that she “was supposed to get educational leave for the full day,” since [w]hen I

registered for the exam I was a Bellevue employee and CHS has no formal policy.” See Email,

“Fw: Educational Leave for Board Certification Exam,” dated October 31, 2018, annexed as

Exhibit “OOO.”

       108.       On December 14, 2018, Ms. Smith notified plaintiff that “CHS is in the process of

revising its policy with regard to education leave,” and “will restore any leave you were

charged.” On January 15, 2019, Ms. Smith notified plaintiff that “9/24 has been corrected in

Kronos to reflect 9 hours of Education Leave (07).” See Email thread, “Re: Docked Educational

Leave,” between December 14, 2018 and January 15, 2019, annexed as Exhibit “PPP.”

       C. PeopleSoft Problems

       109.       On September 6, 2018, plaintiff received an email notifying her that “it’s time for

you to complete your Annual Health Assessment Review.” Dr. Mundy was copied on this email.

See Email thread, “Fwd: Annual Health Assessment Review,” dated September 6-13, 2018,

annexed as Exhibit “QQQ.” The next day, Plaintiff responded, stating

                         “CHS scheduled my health assessment on
                         September 10th, a major Jewish Holiday. I was also
                         scheduled for mandatory iSight computer training
                         during the Jewish High Holidays. I am not


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                       available for any work related duties during this
                       time.

                       This pervasive lack of cultural sensitivity is
                       concerning. Also, I do not understand why a work
                       peer and someone I do not know are gratuitously
                       copied on an email that pertains to my private
                       healthcare related matters.       I oppose this
                       unwarranted dissemination of my personnel
                       information.” Id.

       110.    CHS notified plaintiff that her health assessment appointment was cancelled, and

that plaintiff could reschedule her appointment at a time convenient for her.        CHS also

acknowledged that “person listed may be a human resource error,” and thanked plaintiff for

“bringing this to our attention.” Id.

       111.    In response, plaintiff declared that

                       “Dan Mundy is NOT my supervisor in any way. He
                       is significantly junior to me. I do NOT ‘report to’
                       him in any fashion and never have. I have 18 years
                       of seniority over Dan, I have superior training and
                       credential to Dan, and we work in different
                       boroughs. [emphasis in original].

                       To site [sic] Dan Mundy as my superior or my
                       ‘report to’ and copy him on my private HR matters
                       is beyond careless and insulting, it is a serious
                       privacy violation against me. It is imperative that
                       Dan Mundy never be copied on any of my HR or
                       personnel related matters again.” Id.

       112.    By email, Dr. Jain clarified to CHS OHS that he, and “not Dan Mundy,” was

plaintiff’s supervisor, and forwarded the email thread to Dr. Ford, noting that plaintiff’s

interactions in response to this apparent error were “unprofessional.” Id.

       113.    On December 3, 2018, plaintiff notified Dr. Ford that Dr. Mundy continued to be

copied on emails related to her personnel matters, in this instance, the upcoming expiration of

her license/certification. That same day, the error was corrected and Dr. Jain, and not Dr.


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Mundy, was added as plaintiff’s supervisor. See Email, “Fw: Expiring License/Certification,”

dated December 3, 2018, annexed as Exhibit “RRR.”

       114.     On February 15, 2019, plaintiff wrote to Mr. Wangel regarding the fact that Dr.

Mundy had again been copied on a personal email, this time an email approving plaintiff’s

FMLA leave request. That same day, Mr. Wangel wrote to plaintiff that “[a]s of this evening,

Vice President of H+H Human Resources, Yvette Villanueva, confirms that Ms. Mendez, an

employee of H+H Central Office HR, now understands that Dr. Jain is your supervisor and Dr.

Mundy is not to be included in any communication regarding your personnel matters.” See

Email thread, “Fwd: Melissa Kaye FMLA/Intermittent – To care for ill family member leave

approval,” dated February 15, 2019 and email, “Re: simmering about to boil over,” dated

February 15, 2019, annexed as Exhibit “SSS.”

       115.     On June 3, 2019, Dr. Jain informed HR that PeopleSoft, a personnel management

system still incorrectly listed Dr. Mundy as Dr. Kaye’s supervisor. On June 10, 2019, this issue

was resolved. See Email, “RE: PeopleSoft – Dr. Kaye assignment,” dated June 3-10, 2019,

annexed as Exhibit “TTT.”

       D. Retention Bonus

       116.     On September 17, 2018, Mr. Wangel forwarded a list of former Bellevue FPECC

staff who were now at CHS that “should be on the retention lump sum list” to Matthew

Campese, Assistant Vice President of Labor Relations at H+H, who sent the list to Bellevue for

confirmation.    See Email, “Re: Docs Council Lump Sum,” dated September 17-18, 2018,

annexed as Exhibit “UUU;” Wangel, Ex. P at 49:6-24.

       117.     Between September 19 and September 26, 2018, CHS sought to enact payment to

the four psychiatrists, including plaintiff, who were eligible for a retention bonus. See Email,



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including attachments, entitled, “Docs Council Retention Bonus,” dated September 26, 2018, and

Email, “can you help us help ourselves?” dated September 26, 2018, annexed as Exhibit “VVV.”

       118.     On September 26, 2018, Mr. Wangel requested that April Alexander, Director of

Human Resources at H+H, have her team “confirm the total number of hours for the 3 part-

timers, as well as confirm that Dr. Kaye is entitled to the max retention bonus?” See Email,

“FW: can you help us help ourselves?” dated September 26, 2018, annexed as Exhibit “WWW.”

       119.     Based on the calculations provided by Bellevue and H+H Central Office, it was

determined that plaintiff was eligible for a $13,400 retention bonus, based on .67 FTE (“Full-

Time Employment”). See Email thread, “Re: Total Work Hours,” dated September 26 and

September 27, 2018, annexed as Exhibit “XXX.”

       120.     On September 27, 2018, Mr. Campese provided Doctors Council with a list of the

4 additional doctors and their FTE status, which included plaintiff, who had been added to the

retention payment list. See Email, “RE: Doctors Council Retention payment list – Revised

9.27.18,” dated September 27, 2017, annexed as Exhibit “YYY.”

       121.     On October 31, 2018, plaintiff notified Bellevue Payroll that she had been a full-

time employee of Bellevue from 8/1/17 to 6/30/18, and that she should have received the full

retention bonus to which she was entitled. See Email thread, “RE: FTE error causing bonus

retention error,” dated October 31, 2018, annexed as Exhibit “ZZZ.” Immediate efforts were

made by both CHS and Bellevue to determine whether plaintiff’s retention bonus needed to be

adjusted. Id.

       122.     On November 13, 2018, Nate Collins of Doctors Council sent an email to Mr.

Campese, notifying him that in addition to plaintiff, there was another psychiatrist at Bellevue




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who had retention bonus issues. See Email thread, “RE: some retention bonus issues,” dated

November 13-14, 2018, annexed as Exhibit “AAAA.”

       123.    On December 19, 2018, after determining plaintiff was employed at Bellevue as a

40 hour per week employee, Mr. Campese notified Mr. Collins that plaintiff would be receiving

the remainder of her retention bonus payment. See Email thread, “Re: Total Work Hours –

KAYE RETENTION PAYMENT,” between September 2018 and December 19, 2018, and

Email, “Dr. Kaye,” dated December 19, 2018, annexed as Exhibit “BBBB.”

       E. Complaints of Discrimination and Retaliation

       124.    Thereafter, on or about May 22, 2018, plaintiff filed a Charge of Discrimination

with the EEOC against Bellevue Hospital. On or about May 31, 2018, the EEOC sent notice of

the Charge to Shirley Facey, EEO Coordinator at Bellevue.           See Notice of Charge of

Discrimination, dated May 31, 2018, annexed as Exhibit “CCCC.”

       125.    On or about September 11, 2018, plaintiff filed a Supplemental Charge of

Discrimination with the EEOC. See EEOC Charge, received on September 11, 2018, annexed as

Exhibit “DDDD.” In the Charge, plaintiff alleged that “the male Manhattan Court Clinic

Medical Directors have made significantly more money than I over the almost 20 years I have

worked here,” and that as result of raising this pay disparity, “HHC has demoted me in title,

extended the length of my workday, moved my shift to begin an hour earlier, and miscalculated

my time,” for “no legitimate or consistent reason.” Id.

       126.    On or about September 18, 2018, H+H Legal forwarded to Mr. Wangel a copy of

an EEOC Charge filed by plaintiff on September 11, 2018. Mr. Wangel then shared the EEOC

Charge with Jessica Laboy and Dr. Yang. See Email, “FW: Melissa Kaye,” dated September 18,

2018, annexed as Exhibit “EEEE.”



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       127.   On or about May 2, 2019, H+H was served with an Amended Complaint, in

which plaintiff alleged claims of discrimination and retaliation against H+H and Drs. Yang, Jain,

and Ford, as well as Mr. Wangel. See Ex. A.

       F. Meetings

              128.    On November 29, 2018, plaintiff complained to Dr. Jain that she had been

excluded from a meeting that she originally said she was free to attend. In response, Dr. Jain

sought to reschedule the meeting to accommodate plaintiff. See Email, “Fwd: Meeting 12/4,”

dated November 28-29, 2018, and Email, “FW: Meeting,” dated November 30, 2019, annexed as

Exhibit “FFFF.”

       G. Kronos

       129.   On June 28, 2018, a request was made for Kronos accounts for FPECC staff at the

Manhattan and Bronx court clinics. See Email, “Kronos Accounts for FPECC Staff at Manhattan

and Bronx, dated June 28, 2018, annexed as Exhibit “GGGG.”

       130.   In early July 2018, plaintiff emailed Dr. Jain informing him that the Kronos

system was not working in the Bronx, and expressed concern that if her time was not entered,

she did “risk[ed] getting taken off the payroll and losing my benefits and health insurance.” Dr.

Jain reassured plaintiff that he was able to enter her time, that he was working on getting the

issue resolved, and that “[t]his Kronos issue happened with a lot of us when we first started.”

See Email thread, “Re: Kronos not working in the Bronx,” dated July 3-5, 2018, annexed as

Exhibit “HHHH.”

       131.   In early November 2018, plaintiff emailed Dr. Jain, stating that Kronos was not

allowing her to enter her time. Dr. Jain immediately responded and entered plaintiff’s time. See

Email, “RE: Kronos not accepting time input for Monday 10/29/18,” dated November 5, 2018,



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annexed as Exhibit “IIII.” In early February 2019, plaintiff emailed Dr. Jain regarding her

inability to access Kronos. That same day, Dr. Jain responded by entering plaintiff’s time, and

informed plaintiff that he had referred plaintiff’s inability to access Kronos for resolution. See

Email, “RE: Kronos Access Denied: Time for this week, Sick Day Tomorrow: 2/13/ double

docked,” dated February 25, 2019; email, “Re: FPECC Kronos Assignment,” dated February 25,

2019; email, “FMLA,” dated February 25, 2019; email, “RE: URGENT CORRECTION

NEEDED”: FMLA TIME ERROR pay week 2/25-3/1,” dated February 25-26, 2019, annexed as

Exhibit “JJJJ.”

       H. FPECC Policies

                  132.   In early January 2019, Drs. Ford and Jain learned that a draft of FPECC’s

Psychological Testing Policy, which had been shared with the clinic directors on November 7,

2018, had been either distributed or discussed “among the Legal Aid attorneys citywide.” Dr.

Jain was concerned that [i]f the draft of the policy was sent or discussed among the attorneys

before our final approval, it undermines our internal discussions.” Email, “Re: CHS draft

policies circulated?” dated January 11, 2019, and email, “FW: Draft – Psychological Testing

Policy,” dated January 11, 2019, both annexed as Exhibit “KKKK.”

                  133.   Based on suspicions that plaintiff had shared the policy externally without

consent, Mr. Wangel sought access to all outgoing email from the mailbox of plaintiff from the

time period of July 1, 2018, until January 11, 2019, with a focus on “legal aid society and

personal email addresses (gmail, Yahoo, etc.)” and “[a]ll of part of the phrase: FPECC policy

Psychological Testing.” An initial review of the collection indicated that plaintiff “sent a total of

87 documents (121 items) to her personal gmail address in violation of the [] Acceptable Use




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Policy.” See Email, “RE: Email Access to Active Employee,” dated January 11, 2019, annexed

as Exhibit “LLLL.”

       I. FMLA Leave

       134.   On July 6, 2018, plaintiff requested Family Medical Leave Act (“FMLA”) leave

forms. That same day, a Personnel Labor Relations Associate, Donna Fong, provided plaintiff

with the requested forms. See Email thread, “FMLA,” dated July 6, 2018, annexed as Exhibit

“MMMM.”

       135.   On October 5, 2018, plaintiff again requested FMLA\ leave forms in order to take

FMLA leave for her son, as the “forms you previously sent me are not opening.” See Email

thread, “RE: FMLA,” dated October 5, 2018, annexed as Exhibit “NNNN.”

       136.   On October 15, 2018, plaintiff submitted her completed FMLA paperwork to take

care of her son from “10/15 thru 10/26.”          Email, “RE: FMLA paperwork Confidential

Information,” dated October 15, 2018, annexed as Exhibit “OOOO.” Plaintiff was informed that

the FMLA paperwork was emailed to “Central Office for approval.” Id.

       137.   Plaintiff, Dr. Jain, CHS Payroll, and Doctors Council was notified that “[h]er

leave code in the Kronos system should be 02 until we receive the approval notification.” See

Email thread, “RE: KayeMFLMA8Oct18,” dated October 17, 2018, annexed as Exhibit “PPPP.”

       138.   On October 30, 2018, plaintiff received notice from Maria Mendez, Assistant

Director, HRSS Leaves Administration at H+H, that her FMLA leave request was retroactively

approved. See Email, “Melissa Kaye FMLA/To care for ill family member leave approval –

retro,” dated October 30, 2018, annexed as Exhibit “QQQQ.”

       139.   On November 8, 2018, plaintiff notified Ms. Mendez that she planned to be out

on FMLA leave on “11/13 and 11/14.” In response, Ms. Mendez requested clarification from



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plaintiff’s doctor regarding the frequency and duration of plaintiff’s requests for FMLA

intermittent leave. See Email thread, “Melissa Kaye FMLA/To care for ill family member leave

approval – retro,” dated November 8, 14, 2018, annexed as Exhibit “RRRR.”

       140.    On January 18, 2019, plaintiff submitted the updated FMLA paperwork, and on

February 15, 2019, Plaintiff received notice from Ms. Mendez that her request for an intermittent

leave of absence to care for her ill family member had been approved. See Email thread, “RE:

Updated FMLA,” dated January 18 – February 15, 2019, and Email, “Melissa Kaye FMLA/To

care for ill family member leave approval,” dated February 15, 2019, annexed as Exhibit

“SSSS.”

       141.    On May 7, 2019, plaintiff requested clarification on the HHC FMLA leave policy,

as well as her current FMLA leave balance. After providing plaintiff with documentation used to

calculate her FMLA leave, plaintiff determined that she had used 27 FMLA leave days; CHS

Payroll corrected her balance. See Email thread, “RE: FMLA annual schedule and balance,”

between May 2018 and July 2019, annexed as Exhibit “TTTT.”

       J. Reasonable Accommodation

       142.    In or about late October 2018, plaintiff sought a reasonable accommodation “to

return to my prior shift, a split shift, and the ability to work remotely,” to accommodate for her

son’s disability. Plaintiff’s request for an accommodation was referred to CHS EEO Officer,

Kevin Marrazzo. See Email, “Fw: Reasonable Accommodations Request,” dated October 25,

2018, annexed as Exhibit “UUUU.”

       143.    Plaintiff’s son suffers from an allergic contact dermatitis, where common

chemicals in the environment cause a “blistering, excoriating rash.” Beginning in May 2018,




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plaintiff treated her son’s condition with alternative, Chinese medicine “potions” that she “had to

put all over his skin . . . in the morning.” Kaye, Ex. B at 273:4-275:11.

       144.    On October 30, 2018, plaintiff was notified that “HHC policy does not allow third

party accommodations, i.e. for children, spouses, etc.” and that as an alternative, “you may

qualify for FMLA (Family Medical Leave).” See Email thread, “FW: CONFIDENTIAL –

REASONABLE ACCOMMODATION REQUEST FORM,” dated October 30, 2018, annexed

as Exhibit “VVVV.” Plaintiff forwarded this email to her union representative, Nate Santa

Maria. Id.

       145.    In or about early January 2019, plaintiff wrote to Drs. Jain and Ford, copying

EEO personnel, her union, Dr. Yang, Mr. Wangel, and Mr. Campese, requesting that she be

restored to her former shift, as a result of needing additional time to readjust due to her brother’s

untimely death, and that her current shift is even more difficult for her family, since her “children

were extremely close to their uncle.” Mr. Wangel responded only to Drs. Ford and Jain, telling

them “[p]lease do not respond. This will be treated as a request for intermittent FMLA.” See

Email, “RE: Shift Restoration,” dated January 10, 2019, annexed as Exhibit “WWWW.”

       146.    On or about June 27, 2019, EEO Officer Mr. Marrazzo sent plaintiff a reasonable

accommodation request form in response to her request. On July 12, 2019, plaintiff submitted

her request for a reasonable accommodation. See Email, “Fw: Request for a Reasonable

Accommodation,” dated July 12, 2019, annexed as Exhibit “XXXX.”

       147.    Between July 17, 2019, and October 8 2019, discussions among FPECC

leadership, the EEO office, and plaintiff occurred concerning plaintiff’s reasonable

accommodation request to determine the reasonableness of plaintiff’s request in combination

with plaintiff’s job duties and the needs of the Bronx Court Clinic. See Email thread, “RE: Kay



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description of job duties, reasonable accommodation,” dated July 17, 2019, Email thread, “RE:

Request for a Reasonable Accommodation,” dated August 20, 2019, and Email thread, “RE:

Request for a Reasonable Accommodation,” dated October 8, 2019, annexed as Exhibit

“YYYY.”

       148.   On October 23, 2019, plaintiff was notified that her reasonable accommodation

request was approved to the extent that her “request for an accommodation for a later start time

is granted as follows: that your shift will be changed from 8:00 am to 5:00 pm, to 9:00 am to

6:00 pm.; this shift change is on an as needed basis up to 5 days a week.” Plaintiff was also

notified that it was “unable to approve your request to work remotely as a form of reasonable

accommodation as your request is not reasonable and/or poses an undue hardship.” Email,

“Grant of Reasonable Accommodation,” dated October 23, 2019, annexed as Exhibit “ZZZZ.”

       K. Deductions in Pay

       149.   On October 28, 2019, plaintiff was notified that she had 6 hours and 56 minutes

absence without pay during the pay period of 10/06/19 – 10/12/19. On November 8, 2019,

plaintiff was notified that she had 8 hours absence without pay during the pay period of

10/13/19-10/19/19. In both instances, plaintiff did not have any available leave time. See Email

thread, “RE: DEDUCTION OF PAY NOTICE,” dated October 25-30, 2019 and Email thread,

“RE: DEDUCTION OF PAY NOTICE,” dated November 8-12, 2019, annexed as Exhibit

“AAAAA.”

       L. Counseling Memo - Recording Forensic Evaluations Without Consent

       150.   On March 20, 2019, Mr. Wangel referred an incident involving plaintiff to H+H’s

Corporate Compliance for review. Specifically, it was learned that plaintiff had “electronically

recorded on multiple occasions, evaluations of patients,” apparently “without the consent of the



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patient or counsel.” It was also learned that plaintiff made the recordings using her personal

iPhone. See Email, “Referral,” dated March 20, 2019, annexed as Exhibit “BBBBB.”

       151.       On May 9, 2019, the H+H’s Office of Corporate Compliance (“OCC”) completed

its investigation and issued a memorandum summarizing their findings.          See Confidential

Investigatory Information, dated May 9, 2019, annexed as Exhibit “CCCCC.”            The OCC

determined that

                        “[A]lthough Dr. Kaye did not technically violate
                        any existing law or policy regarding the audio-
                        recording of 730 competency evaluations her
                        decision to record the defendant in the Proceeding
                        during his 730 competency evaluation was
                        inappropriate, and such recording was inconsistent
                        with the custom and practice of performing 730
                        competency evaluations.

                                       *   *    *     *    *
                        Based on the findings in this investigation, the OCC
                        recommends that Dr. Kaye be disciplined in the
                        form of counseling, and retrained on the custom and
                        practice of conducting 730 competency evaluations.
                        The OCC also recommends that CHS develop
                        general policies and procedures for conducting 730
                        competency evaluations, if such policies and
                        procedures do not currently in [sic] exist, and more
                        specifically to develop policies regarding any form
                        of recording such evaluations.” Id.


       152.   On May 31, 2019, Policy # INT 50, entitled, “Unauthorized Recordings,” was

distributed to the court clinic directors. See Email, “FW: New Interdisciplinary and Revised

Nursing Policies, dated May 31, 2019, annexed as Exhibit “DDDDD.”

       153.   On or about July 1, 2019, Dr. Ford and Clarence Muirjr met with plaintiff to issue

her a counseling memo that she had “inappropriately recorded a 730 Competency Evaluation

without authorization.”      See Memorandum, Re: Audio recording of 730 Competency



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Evaluations, dated May 29, 2019, from Dr. Ford to plaintiff, and Email thread, “Re: Follow-up,”

between June 18, 2019 to June 21, 2019, annexed as Exhibit “EEEEE.”

       M. Warning Letter - Workplace Conduct

       154.    On March 7, 2019, plaintiff received an email from Teleakie Parker seeking

information regarding her professional credentialing, which plaintiff found suspicious and

thereafter expressed concern that CHS “may be mishandling my private and confidential

information.” On May 7, 2019, Plaintiff forwarded the email to Catherine Patsos of H+H’s

Office of Corporate Compliance for investigation. See Email thread, “CHS Phishing email

physician credentialing failure to advise,” between March and May 2019, annexed as Exhibit

“FFFFF.”

       155.    On May 31, 2019, Andrea Swenson, the Senior Administrator for the Court

Clinics, reported to Dr. Jain, Mr. Muiujr, and Samantha Kent that plaintiff had “screamed at [her]

for a good 40 minutes,” telling her that “physicians are the reason [Swenson and the other

administrator] have a job,” and wanted to know if Drs Mundy, Owen and Winkler were “being

treated like secretaries.” According to Ms. Swenson, Plaintiff also reportedly told Ms. Swenson

she was “lying” when Ms. Swenson said that she had talked about the Teleakie email, and that

Ms. Swenson had “done nothing.” See Email thread, “FW: Assistance with Bronx,” dated May

31, 2019, annexed as Exhibit “GGGGG.”

       156.    After discussing the interaction between Ms. Swenson and plaintiff with Dr. Jain,

Drs. MacDonald and Ford agreed that the plaintiff’s conduct was unprofessional. Mr. Wangel

suggested, and Dr. Ford agreed, to draft a warning memo to present to plaintiff. See Email

thread, “Re: Assistance with Bronx,” dated June 3-4, 2019, annexed as Exhibit “HHHHH.”




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       157.    On June 6, 2019, a warning memo for plaintiff, drafted by Samantha Kent,

Associate Director of Employment & Labor Relations at CHS, regarding the incident with Ms.

Swenson on May 31. 2018, was sent to Drs. Ford and MacDonald, as well as Mr. Wangel and

Ms. Laboy, with instructions to present to plaintiff. See Email, “Workplace Conduct Memo,”

dated June 6, 2019, and Email thread, “RE: Workplace Conduct Memo,” dated June 6, 2019,

annexed as Exhibit “IIIII.”

       158.    On or about July 1, 2019, Dr. Ford and Clarence Muirjr met with plaintiff to issue

her a warning memo that she had “engaged in inappropriate and unprofessional conduct when

you spoke with Ms. Andrea Swenson, Administrative Director for FPECC, on or about May 31,

2019.” See Memorandum Re: Unprofessional Conduct and Communication, dated June 6, 2019,

from Dr. Ford to plaintiff, annexed as Exhibit “JJJJJ;” see also Email thread, “Re: Follow-up,”

between June 18, 2019 to June 21, 2019, annexed as Exhibit “KKKKK.”

       N. Notes

       159.    In October 2018, plaintiff emailed Dr. Jain, requesting his original notes for a file,

so that the file could be closed. Dr. Jain indicated in response that the files were in his office.

Email, “Fw: Notes,” dated October 2-3, 2018, annexed as Exhibit “LLLLL.”

       160.    On or about December 20, 2018, Dr. Jain notified Dr. Ford that he had learned

that plaintiff had taken his handwritten notes out of the charts and “has them in her possession.”

Specifically, Dr. Jain stated that his “notes for at least 10 cases, which I gave to Lucrecia to file,

are not in their respective charts.” Dr. Jain reported that “[w]hen he asked for notes on a

particular case, Lucrecia said [plaintiff] asked for my notes, took them” and “Lucrecia could not

find them.” Dr. Jain added that “[t]here is no legitimate reason for these notes to be missing or




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taken by [plaintiff] without my knowledge. This is unusual and concerning.” Email, “Fw:

Bronx – my handwritten notes,” dated December 20, 2018, annexed as Exhibit “MMMMM.”

       O. Staffing for the Bronx Clinic

       161.   On April 3, 2018, Dr. Ford recommended two candidates for interview, Drs.

Jonathan Kent and Raina Lamade, to full the open position at the Bronx Court Clinic, previously

held by Dr. Winkler prior to his promotion to Director of the Brooklyn Court Clinic. See Email

correspondence, between Susannah Lewis and Drs. Jain and Kaye, dated April 3-5, 2018,

annexed as Exhibit “NNNNN.”

       162.   Plaintiff interviewed Dr. Kent on or about April 23, 2018. See Email, dated April

24, 2018, from Dr. Kent to plaintiff, annexed as Exhibit “OOOOO.” Plaintiff did not believe Dr.

Kent was “a good fit for the Bronx.” See Email, date April 24, 2018, from plaintiff to Drs. Jain

and Winkler, annexed as Exhibit “PPPPP.”

       163.   On or about May 18, 2018, Plaintiff learned that Dr. Louise Mullan would be

starting at the Bronx Court Clinic. See Email, dated May 18, 2018, from Dr. Jain to Dr. Mullan

and plaintiff, annexed as Exhibit “QQQQQ.” Dr. Mullan worked as a per diem or part-time

psychiatrist at the Bronx Court Clinic until on or about June 14, 2019. See Email, dated May 31,

2019, from Lucrecia Persaud to Andrea Swenson, annexed as Exhibit “RRRRR;” Jain, Ex. C at

118:4-7.

       164.   On June 11, 2018, Dr. Jain sent plaintiff information concerning a psychologist

who was interested in a full-time position, and wanted to know her “thoughts on him for a full-

time Bronx psychologist position.” See Email, “Bronx Psychologist Candidate,” dated June 11,

2018, annexed as Exhibit “SSSSS.”




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       165.    Following Dr. Mullan’s departure, efforts were made to hire another psychiatrist

at the Bronx Court Clinic. See Email, dated September 19, 2019, from Dr. Yang to Jessica

Laboy, et al., annexed as Exhibit “TTTTT.”

       166.    On or about October 1, 2018, Dr. Anansa Brayton was hired as an evaluator at the

Bronx Court Clinic. See Email, dated October 1, 2018, from Dr. Jain to plaintiff, annexed as

Exhibit “UUUUU.” Dr. Brayton worked full time as a psychologist at the Bronx Court Clinic

until on or about November 11, 2019. See Email, dated November 1, 2019, from Dr. Brayton to

plaintiff, Dr. Jain, and Lucrecia Persaud, annexed as Exhibit “VVVVV.”

       167.    In anticipation of, and following Dr. Brayton’s departure, leadership sought to

backfill her position at the Bronx Court Clinic. See Email thread, dated September 20, 2019,

October 31, 2019, November 1-2, 4, 2019, entitled “What is plan for psychologist staffing in the

Bronx?” between Drs. Ford, Jain, and Garcia-Mansilla, among others; email, dated October 31,

2019- November 12, 2019, from Dr. Jain to Wilma Soto and Kiesha Bailey, annexed as Exhibit

“WWWWW.”

       168. Efforts were also made to rotate in or transfer examiners from another borough to

assist with cases in the Bronx Court Clinic. Id.

       169.    There were challenges in retaining and recruiting staff for the Bronx Court Clinic.

Dr. Jain received concerns from Drs. Brayton and Mullan regarding the “tense” work

environment, directors from the other boroughs expressed concerns about sending their

examiners to the Bronx to do examinations because of the work environment, and plaintiff was

resistant to work with certain examiners. See Jain, Ex. C at 116:18-118:1, 120:16-121:2, 121:24-

122:9, 124:2-19, 125:9-12, 144:7-145:20, 182:11-21, 208:1-210:16, 270:4-272:12, 318:8-321:8;

Yang, Ex. M at 85:18-87:9.



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        P. Complaints to BOC

        170.    On January 7, 2020, plaintiff submitted a letter to the Board of Correction and

Inspector General for the Department of Correction, complaining of what she believed to be a

“matter of public concern to oversight agencies consistent with my duty as a physician to do so,

and I request that action be taken to protect due process rights of criminal defendants and the

integrity of the legal system.” See January 7, 2020 letter, annexed as Exhibit “XXXXX.”

        Q. Resignation/Retirement

        171.    On January 13, 2020, plaintiff submitted her resignation. See “Receipt for

Retirement Application, annexed as Exhibit “YYYYY.” Plaintiff alleges that she was forced

out, or constructively discharged.

        R. Complaints to New York State Inspector General and Department of Justice

        172.    Plaintiff testified that she filed complaints online with the New York State

Inspector General and the Department of Justice. She cannot confirm when she filed these

complaints with either agency, nor whether either agency contacted H+H or any of its

employees.     See Deposition of Melissa Kaye, dated February 3, 2022, annexed as Exhibit

“ZZZZZ” at 381:4-386:11.

        S. Medical License in New Mexico

        173.    Plaintiff has not submitted her work verification to CHS as part of the licensing

process for a medical license in New Mexico, believing that “[b]ecause CHS engaged in ongoing

retaliation against me including the manufactured disciplinary actions, they’re not going to fill

out a form in good faith if they fill it out at all.” Id., 387:23-392:22.

        174.    Plaintiff has not contacted CHS or H+H to determine how they would complete

her work verification for her medical license in New Mexico. Id., 403:23-404:23.



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Dated:     New York, New York
           March 4, 2022
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